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8                          UNITED STATES DISTRICT COURT
9                        SOUTHERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                           Case No.: 18-CR-943 DMS
12                                     Plaintiff,
                                                         ORDER DENYING MOTION FOR
13   v.                                                  SENTENCING MODIFICATION
                                                         UNDER 18 U.S.C. § 3582(C)
14   MARIA ALEJANDRA MEDINA-
     VELASQUEZ,
15
                                     Defendant.
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18          Before the Court is Defendant Maria Alejandra Medina-Velasquez’s pro se motion
19   to reduce her sentence under 18 U.S.C. § 3582(c)(1)(A)(i). The Government filed a
20   response in opposition. Defendant did not file a reply. For the following reasons,
21   Defendant’s motion is denied.
22                                                  I.
23                                      BACKGROUND
24          On March 18, 2019, the Court sentenced Defendant to 60 months of imprisonment
25   and three years of supervised release, for two counts of violating 21 U.S.C. §§ 952 and
26   960, Importation of Methamphetamine and Importation of Heroin. (Judgment, ECF No.
27   43.)
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1          Defendant is 47 years old and suffers from obesity, kidney disease, diabetes, and
2    hypertension. She has also suffered a stroke. (Mot. at 1.) The Centers for Disease Control
3    and Prevention (CDC) identifies obesity, chronic kidney disease, and diabetes as conditions
4    placing an individual at increased risk of severe illness from COVID-19. See Groups at
5    Higher Risk for Serious Illness, CENTERS          FOR   DISEASE CONTROL   AND   PREVENTION,
6    http://cdc.gov/coronavirus/2019-ncov/need-extra-precautions/groups-at-higher-risk.html.
7    Defendant is currently incarcerated at the Federal Medical Center-Carswell (FMC-
8    Carswell), in Fort Worth, Texas. (Mot. at 1.) She is scheduled to be released on April 30,
9    2022. (Opp. at 2.) Due to the risks associated with COVID-19 and the inability to socially
10   distance in a custodial setting, Defendant now seeks a reduction of her sentence.
11                                                II.
12                                         DISCUSSION
13         In general, a court may not modify a sentence of incarceration once it has been
14   imposed, unless expressly permitted by statute or Rule 35 of the Federal Rules of Criminal
15   Procedure. United States v. Penna, 319 F.3d 509, 511 (9th Cir. 2003). The First Step Act
16   (“FSA”) is such a statute. See Pub L. 115-391, 132 Stat. 5194, 5239 (2018). Among the
17   criminal justice reforms implemented by the FSA, Congress amended 18 U.S.C. §
18   3582(c)(1)(A) to allow the defendant to move the district court for compassionate release
19   after exhausting the Bureau of Prison (“BOP”) process.
20         Section 3582(c) of Title 18 of the United States Code provides that a court may not
21   modify a term of imprisonment except “upon motion of Director of the Bureau of Prisons,
22   or upon motion of the defendant.” A defendant may bring a § 3582(c) motion after he has
23   “fully exhausted all administrative rights to appeal a failure of the Bureau of Prisons” to
24   act or “the lapse of 30 days from the receipt of such a request by the warden of the
25   defendant’s facility, whichever is earlier.” 18 U.S.C. § 3582(c)(1)(A). Administrative
26   exhaustion is a prerequisite to filing the motion in district court, and “[e]xhaustion occurs
27   when the BOP denies a defendant’s application or lets thirty days pass without responding
28   to it.” United States v. Mondaca, No. 89-cr-0655-DMS, 2020 WL 1029024, at *2 (S.D.

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1    Cal. Mar. 3, 2020) (internal quotation marks and citations omitted). Here, Defendant
2    submitted her request for “compassionate release or home confinement” to the warden on
3    June 10, 2020. (Mot. at 1; Opp. at 9 n.7.) On June 27, 2020, the warden denied Defendant’s
4    request. (Id.) Because the warden has denied Defendant’s request, the Court may address
5    the motion on its merits.
6          The FSA allows a district court to modify a sentence and grant compassionate release
7    if it finds “extraordinary and compelling reasons” warrant such a reduction, the reduction
8    complies with 18 U.S.C. § 3553(a), and the defendant “is not a danger to the safety of any
9    other person or to the community[.]” See 18 U.S.C. § 3582(c)(1)(A); United States
10   Sentencing Guidelines (“U.S.S.G”) § 1B1.13. Defendant contends she meets the foregoing
11   criteria. As the movant, Defendant bears the burden of establishing that she is eligible for
12   a sentence reduction. See United States v. Jones, 836 F.3d 896, 899 (8th Cir. 2016).
13         1. Extraordinary and Compelling Reasons
14         Defendant argues that she is eligible for compassionate release because her
15   underlying health conditions make her particularly vulnerable to COVID-19.              The
16   Sentencing Guidelines provide that extraordinary and compelling reasons may exist for
17   compassionate release where a defendant suffers from, among other conditions, “a serious
18   physical or mental condition … that substantially diminishes the ability of the defendant to
19   provide self-care within the environment of a correctional facility and from which he or
20   she is not expected to recover.” U.S.S.G § 1B1.13, cmt n.1(A)(i)(I). Defendant suffers
21   from obesity, kidney disease, and diabetes—conditions that the CDC has determined to
22   increase the risk of serious illness from COVID-19. (Mot. at 1.) Defendant also suffers
23   from hypertension, which the CDC believes may increase the risk of serious illness from
24   COVID-19.      (Id.)   The Government concedes that Defendant’s medical conditions
25   constitute “extraordinary and compelling” circumstances amidst the current pandemic.
26   (Opp. at 10-11.) However, the Government contends that Defendant is not entitled to
27   compassionate release because she has not demonstrated that she is not a danger to others
28   or the community nor that the § 3553 factors weigh in favor of release. The Court agrees.

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1          2. Danger to Others or the Community
2          Even where extraordinary and compelling reasons exist, the court must consider
3    whether the defendant is “a danger to the safety of any other person or to the community,
4    as provided in 18 U.S.C. § 3142(g)[.]” U.S.S.G. § 1.B1.13(1)(A), (2) cmt. n. 1. To make
5    this assessment, the Court is directed to the factors set out in § 3142(g), including, among
6    other things: (1) the nature and circumstances of the offense charged; (2) the history and
7    characteristics of the person, including character, physical and mental condition, family
8    ties, employment, financial resources, past conduct, criminal history, and drug and alcohol
9    abuse; and (3) the nature and seriousness of the danger to any person or the community
10   that release would impose. These factors are addressed in turn and overlap with the §
11   3553(a) factors.
12         While Defendant is a non-violent offender, the Government contends that Defendant
13   poses a danger to the community because of Defendant’s criminal history. Indeed,
14   Defendant was previously convicted (1) for attempting to smuggle marijuana into the
15   United States from Mexico and (2) for forgery. (Opp. at 9; PSR, ECF 26 at 7-8.) Defendant
16   has a history of struggling with the terms of probation and it appears that she has not been
17   deterred from drug smuggling activity after her prior shorter custodial sentence. (Opp. at
18   9; PSR, ECF 26 at ¶ 74.) Defendant states that “this [is] the 1st time in trouble” for her
19   (Mot. at 2.) but clearly that is not the case. Based on Defendant’s past conduct and criminal
20   history, the Court finds that Defendant has failed to show she would not present a danger
21   to others or the community if released.
22         3. § 3553(a) Factors
23         Finally, the Court must consider “the factors set forth in section 3553(a) to the extent
24   that they are applicable.” 18 U.S.C. § 3582(c)(1)(A). Section 3553(a) provides that the
25   sentencing court must impose a sentence that is “sufficient, but not greater than necessary
26   … (A) to reflect the seriousness of the offense, to promote respect for law, and to provide
27   just punishment for the offense; (B) to afford adequate deterrence to criminal conduct; (C)
28   to protect the public from further crimes of the defendant; and (D) to provide the defendant

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1    with needed educational or vocational training, medical care, or other correctional
2    treatment in the most effective manner[.]” 18 U.S.C. § 3553(a)(2)(A)-(D). The court also
3    must consider, among other factors, “the nature and circumstances of the offense and the
4    history and characteristics of the defendant” and the “need to avoid unwarranted sentence
5    disparities among defendants with similar records who have been found guilty of similar
6    conduct.” Id. § 3553(a)(1),(6).
7             Defendant states that during her time in custody, she has “maintained clear conduct”
8    and participated in multiple classes regarding trauma, stress management, and health.
9    (Mot. at 1.) She further states that she will “abide by any and all that probation and parole
10   requires” of her. (Mot. at 2.) The Government argues that Defendant has only completed
11   a little more than half of her 60-month sentence and points to Defendant’s history of being
12   non-compliant with probation. (Opp. at 12.) The Government also points to Defendant’s
13   history of substance abuse and specifically Defendant’s alcohol abuse until the date of the
14   instant arrest. (Id.)
15            The Court commends Defendant for how she is spending her time in custody, but
16   does not find her sentence to be greater than necessary under § 3553(a), especially
17   considering her criminal history and difficulty following the terms of probation. The Court
18   is sympathetic to Defendant’s concerns about COVID-19, but FMC-Carswell staff appear
19   to be providing Defendant with proper medical attention. (Opp. at 12.) Defendant
20   expressed concern that there was a “major outbreak” of COVID-19 at FMC-Carswell but
21   the Government states that only 13 inmates had tested positive at that time. (Mot. at 1;
22   Opp. at 12.) Currently, there appears to be only 2 inmates and 3 staff members who have
23   tested      positive    at   FMC-Carswell.          See    BOP      Coronavirus      Website,
24   https://www.bop.gov/coronavirus/index.jsp (last visited Oct. 14, 2020).
25            Under § 3553(a), the Court finds that Defendant’s sentence is not greater than
26   necessary to address the overarching goals of punishment, deterrence, protection of society,
27   and rehabilitation. These factors weigh against releasing Defendant at this time.
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1                                          III.
2                              CONCLUSION AND ORDER
3          For the foregoing reasons, Defendant’s motion for compassionate release is
4    respectfully denied.
5    IT IS SO ORDERED.
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     Dated: October 19, 2020
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